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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENWOOD DIVISION

 DOUGLAS TURNER,                              )         Civil No.: 8:20-CV-04115-JD
                                              )
                                              )
                        Plaintiff,            )
                                              )
     v.                                       )         JOINT STIPULATION OF
                                              )       DISMISSAL WITH PREJUDICE
                                              )
 NEXSTAR BROADCASTING, INC.,                  )
 NEXSTAR MEDIA GROUP, INC., and               )
 JOHN/JANE DOE,                               )
                        Defendants.           )
                                              )
                                              )



          Plaintiff DOUGLAS TURNER and Defendants NEXSTAR BROADCASTING, INC.

(now known as Nexstar Media Inc.) and NEXSTAR MEDIA GROUP, INC., by and through

their undersigned counsel, hereby stipulate, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules

of Civil Procedure, that this action and all claims in it are hereby dismissed WITH

PREJUDICE. Each party to bear its own fees and costs.




                            [SIGNATURES ON FOLLOWING PAGE]




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         We consent:                                  DAVID R. PRICE, JR., P.A.

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                                                      Attorneys for Defendants,
                                                      NEXSTAR MEDIA GROUP, INC. and
                                                      NEXSTAR, BROADCASTING, INC. (now
                                                      known as Nexstar Media Inc.)

         November 16, 2021
         Mt. Pleasant, South Carolina




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